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12

13                                UNITED STATES DISTRICT COURT
14
                                 EASTERN DISTRICT OF CALIFORNIA
15
     B&G FOODS NORTH AMERICA, INC.,                 CASE NO. 2:20-CV-00526-KJM-DB
16
                                                    REPLY TO STATEMENT REGARDING
17                                Plaintiff,        ORAL ARGUMENT ON MOTION TO
                                                    DISMISS PLAINTIFF’S SECOND
18          v.                                      AMENDED COMPLAINT
19   KIM EMBRY and ENVIRONMENTAL                    Hearing Date: March 10, 2023
     HEALTH ADVOCATES, INC., acting as              Hearing Time: 10:00 a.m.
20   enforcement representatives under California   Courtroom: 3 (15th Floor)
21   Proposition 65 on behalf of the State of
     California,                                    District Judge: Hon. Kimberly J. Mueller
                                                    Magistrate Judge: Hon. Deborah Barnes
22
                                  Defendants.
                                                    Complaint Filed: March 6, 2020
23                                                  FAC Filed: July 7, 2022
                                                    SAC Filed: November 23, 2022
24
                                                    Trial Date: None Set
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                       REPLY TO STATEMENT REGARDING ORAL ARGUMENT
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 1          After the Motion to Dismiss was submitted, B&G improperly filed a “Statement Regarding

 2   Oral Argument” with four exhibits. The Court should strike the pleading, as it was submitted without

 3   leave. However, to the extent the Court considers this belated filing, it does not show that Defendants

 4   are state actors – if anything, it shows the opposite. Defendants respectfully request that if the Court

 5   takes B&G’s filing into account, the Court also consider this brief response.

 6          B&G’s exhibits do not add anything. Most of them (Exhibits 1-3) show the rare occasion in

 7   which a Proposition 65 private enforcer and the Attorney General both maintain lawsuits with respect

 8   to the same chemical in the same or similar products against the same or similar defendants. Then,

 9   like any other civil matter where cases address the same subject, courts will relate or consolidate the

10   actions. But both the private enforcers and the Attorney General are still taking independent actions

11   and making independent litigation decisions.

12          The final exhibit (Exhibit 4) shows another rare occasion in which a private enforcer’s

13   investigation efforts that lead to the Attorney General bringing a case will result in the private enforcer

14   being compensated. Again, this is a result of independent actions and decisions.

15          Even if the Court found that prosecution of separate, parallel cases or compensation to a

16   private enforcer in a case brought by the Attorney General made the private enforcers in those cases

17   state actors, that would only highlight that Defendants here are not state actors. B&G has not pled –

18   and cannot plead consistent with Rule 11 – that the Proposition 65 cases at issue fall into those

19   categories. If anything, therefore, B&G’s belated filing shows that Defendants are not state actors.

20   [See signature on following page.]

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                        REPLY TO STATEMENT REGARDING ORAL ARGUMENT
        Case 2:20-cv-00526-KJM-DB Document 81 Filed 03/13/23 Page 3 of 3


 1   Respectfully submitted,
 2   Dated: March 13, 2023               NICHOLAS & TOMASEVIC, LLP

 3                                 By:   /s/ Jake W. Schulte
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